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6    Attorneys for the United States

7                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
8
     UNITED STATES OF AMERICA,                          Case No. 2:21-mj-000540-BNW
9
                     Plaintiff,                         Stipulation to Continue Bench Trial
10                                                      (Second Request)
            v.
11
     ARZU SCHWARTZ,
12
                     Defendant.
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14
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher
15
     Chiou, Acting United States Attorney, and Rachel Kent, Assistant United States
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     Attorney, counsel for the United States of America, Craig Perry, Esquire, counsel for the
17
     defendant, that the bench trial in the above-captioned matter, currently scheduled for
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     October 6, 2021 at the hour of 9:00 a.m., be vacated and continued for sixty (60) days or
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     to date and time convenient to the Court.
20
            This stipulation is entered into for the following reasons:
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            1.      Counsel for the Defendant needs time to consult with Defendant to
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     adequately prepare for trial/or possible negotiations with the Government.
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            2.       Defendant is out of custody and agrees to the continuance.
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1          3.      Denial of this request for a trial continuance would prejudice both the

2    Defendants and the Government and unnecessarily consume this Court’s valuable

3    resources, taking into account the exercise of due diligence.

4          4.      Additionally, denial of this request for continuance could result in a

5    miscarriage of justice.

6          5.      This is the second request for continuance of the trial in this case.

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8          DATED this 28th day of September, 2021.

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10                                                      Respectfully submitted,

11                                                      CHRISTOPHER CHIOU
                                                        Acting United States Attorney
12
     /s/ Craig Perry                                    /s/ Rachel Kent
13
     CRAIG PERRY, ESQ.                                  RACHEL KENT
14   Counsel for defendant                              Assistant United States Attorney
     ARZU SCHWARTZ
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1                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
2

3
     UNITED STATES OF AMERICA,                        Case No. 2:21-mj-00540-BNW
4
                    Plaintiff,                        Order Continuing Bench Trial
5
           v.
6
     ARZU SCHWARTZ,
7
                    Defendant.
8

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10          Based on the pending stipulation of counsel, and good cause appearing therefore,

11          IT IS HEREBY ORDERED that the bench trial in the above-captioned matter

12   currently scheduled for October 6, 2021, at the hour of 9:00 a.m. be vacated and continued

13   to    12/15/2021 at 9 a.m.             , at the hour of 9:00 a.m.

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16                 DATED this        30th      day of September, 2021.

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                                   UNITED STATES MAGISTRATE JUDGE
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